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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


ELIZABETH DIAZ,
on behalf of E.G., an infant,

                                           Plaintiff,

                         -vs-                                                06-CV-530-JTC

COMMISSIONER OF SOCIAL SECURITY,

                                           Defendant.



        Plaintiff Elizabeth Diaz initiated this action pursuant to the Social Security Act, 42

U.S.C. § 405(g), to review the final determination of the Commissioner of Social Security

(“Commissioner”) denying plaintiff’s application for Supplemental Security Income (“SSI”)

benefits made on behalf of her minor child, E.G. Both parties have moved for judgment

on the pleadings pursuant to Rule 12(c) of the Federal Rules of Civil Procedure. For the

following reasons, plaintiff’s motion is granted, and the Commissioner’s motion is denied.


                                             BACKGROUND

        Plaintiff filed an application on November 8, 2001 for SSI benefits on behalf of E.G.,

alleging disability based on behavior problems and emotional disturbance (Tr. 67-71).1

E.G. was born on January 9, 1996, and was five years old at the time the application for

SSI benefits was filed. After denial of the application at the initial level (Tr. 57-61), plaintiff

filed a timely request for a hearing before an Administrative Law Judge (“ALJ”) (Tr. 63).

The hearing was held on May 2, 2003, before ALJ Benjamin F. Parks (Tr. 31-32). At the


        1
          Page citations are to the adm inistrative transcript filed by the Com m issioner as part of the answer
in this action (Item 4).
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time of the hearing, E.G. was seven years old, and was in a special education class in the

first grade. Plaintiff and E.G. testified at the hearing, and they were represented by

attorney Ryan L. Everhart, Esq.

       In a decision dated August 26, 2003, ALJ Parks found that E.G. was not disabled

within the meaning of the Social Security Act (Tr. 13-18). Following the sequential

evaluation process for determining disability for children, as outlined in the Social Security

regulations at 20 C.F.R. § 416.924, the ALJ determined that E.G.’s behavioral disorder,

while severe, did not meet, medically equal, or functionally equal the severity of any

impairment listed at 20 C.F.R. Part 404, Subpart P, Appendix 1 (the “Listings”) (Tr. 15-17).

       Plaintiff filed a timely administrative appeal (Tr. 9), and subsequently submitted to

the Appeals Council additional evidence consisting of E.G.’s medical and school records

developed after the August 26, 2003 hearing determination. In a Notice of Decision dated

June 14, 2006 (Tr. 4-8), the Appeals Council indicated that it had considered the additional

evidence, but found that it did not provide a basis for changing the ALJ’s determination.

       Plaintiff then filed this action on August 8, 2006 seeking review of the

Commissioner’s decision, and the parties moved for judgment on the pleadings. In support

of her motion, plaintiff contends that the Commissioner failed to properly evaluate the

evidence in the record from several sources indicating that E.G. suffered from a marked

impairment in two domains of functioning–attending and completing tasks, and interacting

and relating with others–and failed to adequately develop the record in this regard. The

Commissioner contends that the ALJ’s determination is supported by substantial evidence,

and should be affirmed.



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                                      DISCUSSION

I.    Scope of Judicial Review

      The Social Security Act provides that, upon district court review of the

Commissioner‘s decision, “[t]he findings of the Commissioner . . . as to any fact, if

supported by substantial evidence, shall be conclusive . . . .” 42 U.S.C. § 405(g).

Substantial evidence is defined as evidence which “a reasonable mind might accept as

adequate to support a conclusion.” Consolidated Edison Co. v. NLRB, 305 U.S. 197, 229

(1938), quoted in Richardson v. Perales, 402 U.S. 389, 401 (1971); see also Tejada v.

Apfel, 167 F.3d 770, 773-74 (2d Cir. 1999). The substantial evidence test applies not only

to findings on basic evidentiary facts, but also to inferences and conclusions drawn from

the facts. Stupakevich v. Chater, 907 F. Supp. 632, 637 (E.D.N.Y. 1995); Smith v. Shalala,

856 F. Supp. 118, 121 (E.D.N.Y. 1994). Under these standards, the scope of judicial

review of the Commissioner’s decision is limited, and the reviewing court may not try the

case de novo or substitute its findings for those of the Commissioner. Richardson, 402

U.S. at 401. The court’s inquiry is “whether the record, read as a whole, yields such

evidence as would allow a reasonable mind to accept the conclusions reached” by the

Commissioner. Sample v. Schweiker, 694 F.2d 639, 642 (9th Cir. 1982), quoted in

Winkelsas v. Apfel, 2000 WL 575513, at *2 (W.D.N.Y. February 14, 2000).

      In addition, “[b]efore the insulation of the substantial evidence test comes into play,

it must first be determined that the facts of a particular case have been evaluated in the

light of correct legal standards.” Klofta v. Mathews, 418 F. Supp. 1139, 1411 (E.D.Wis.

1976), quoted in Sharbaugh v. Apfel, 2000 WL 575632, at *2 (W.D.N.Y. March 20, 2000).



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The Commissioner’s determination cannot be upheld when it is based on an erroneous

view of the law that improperly disregards highly probative evidence. Grey v. Heckler, 721

F.2d 41, 44 (2d Cir. 1983); see also Shaw v. Chater, 221 F.3d 126, 131 (2d Cir. 2000)

(district court may set aside Commissioner's determination that claimant is not disabled

only if factual findings are not supported by substantial evidence or if decision is based on

legal error).

       In this case, plaintiff primarily contends that the Commissioner’s determination is not

supported by substantial evidence, and that review of the record as a whole shows that

E.G.’s impairments are sufficiently severe to be disabling within the meaning of the Act.


II.    Standards for Determining Eligibility for Childhood SSI Benefits

       The SSI program, 42 U.S.C. § 1381, et seq., is a federal program providing benefits

to needy aged, blind, or disabled individuals who meet statutory income and resource

limitations. With respect to claims filed on behalf of children, the Act provides:

       (i) An individual under the age of 18 shall be considered disabled for the
       purpose of this title if that individual has a medically determinable physical
       or mental impairment, which results in marked and severe functional
       limitations, and which can be expected to result in death or which has lasted
       or can be expected to last for a continuous period of not less than 12
       months.

       (ii) Notwithstanding clause (i), no individual under the age of 18 who engages
       in substantial gainful activity. . . may be considered to be disabled.

42 U.S.C. § 1382c(a)(3)(C).

       The Social Security regulations set forth a three-step sequential analysis for the ALJ

to follow when determining whether a child is disabled within the meaning of this provision.

See 20 C.F.R. § 416.924(a)-(d). The first step is to determine whether the child is


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engaging in “substantial gainful activity.” 20 C.F.R. § 416.924(b). If he is not, the ALJ

considers at step two whether the child has a “medically determinable impairment(s) that

is severe,” i.e., causes “more than minimal functional limitations.” 20 C.F.R. § 416.924(c).

Finally, at step three, if the ALJ finds a severe impairment, he then must consider whether

the child has an impairment that “meets,” “medically equals,” or “functionally equals” a

disabling condition listed in the Listings. 20 C.F.R. § 416.924(d); see also Pollard v. Halter,

377 F.3d 183, 189 (2d Cir. 2004); White ex rel. Johnson v. Barnhart, 409 F. Supp. 2d 205,

207 (W.D.N.Y. 2006).

        In this case, ALJ Parks followed this three-step analysis, first finding that E.G. has

never engaged in substantial gainful activity (Tr. 14). The ALJ then found that the medical

evidence in the record was sufficient to establish that E.G.’s behavior disorder was “severe”

within the meaning of 20 C.F.R. § 416.924(c), but it did not approach the severity of Listing

112.11,describing Attention Deficit Hyperactivity Disorder (“ADHD”) 2 or any other listed

        2
            Listing 112.11 sets forth the criteria for ADHD, as follows:

          Manifested by developm entally inappropriate degrees of inattention, im pulsiveness, and
        hyperactivity.
          The required level of severity for these disorders is m et when the requirem ents in both
        A and B are satisfied.
          A. Medically docum ented findings of all three of the following:
                1. Marked inattention; and
                2. Marked im pulsiveness; and
                3. Marked hyperactivity;
        AND

         . . . for children (age 3 to attainm ent of age 18), resulting in at least two of the
        appropriate age-group criteria in paragraph B2 of 112.02.

20 C.F.R. pt. 404, Subpt. P, App. 1, § 112.11.

        Paragraph B2 of § 112.02 contains the following criteria:

          a. Marked im pairm ent in age-appropriate cognitive/com m unicative function,
        docum ented by m edical findings (including consideration of historical and other
        inform ation from parents or other individuals who have knowledge of the child, when such

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impairment (Tr. 15). Accordingly, the ALJ proceeded to step three to determine whether

E.G. had an impairment which was functionally equivalent to a listed impairment (Tr. 16-

18).

        In this regard, the regulations provide that when making a determination of

functional equivalence in childhood disability cases, the ALJ must examine the evidence

of record and consider the child’s level of functioning in the following six “domains:”

        i.       Acquiring and using information;

        ii       Attending and completing tasks;

        iii.     Interacting and relating with others;

        iv.      Moving about and manipulating objects;

        v.       Caring for oneself; and,

        vi.      Health and physical well-being.




        inform ation is needed and available) and including, if necessary, the results of appropriate
        standardized psychological tests . . . ; or
          b. Marked im pairm ent in age-appropriate social functioning, docum ented by history and
        m edical findings (including consideration of inform ation from parents or other individuals
        who have knowledge of the child, when such inform ation is needed and available) and
        including, if necessary, the results of appropriate standardized tests; or
          c. Marked im pairm ent in age-appropriate personal functioning docum ented by history
        and m edical findings (including consideration of inform ation from parents or other
        individuals who have knowledge of the child, when such inform ation is needed and
        available) and including, if necessary, the results of appropriate standardized tests; or
          d. Marked difficulties in m aintaining concentration, persistence, or pace.

Id., § 112.02.

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20 C.F.R. § 416.926a(b)(1). If the child has “marked”3 limitations in two of the domains or

an “extreme”4 limitation in one domain, then his impairments will “functionally equal” the

Listings, and he will be found disabled. 20 C.F.R. § 416.926a(d); see also White, 409 F.

Supp. 2d at 207-08.

      Upon reviewing the disability-related documentation and medical evidence in the

record in this case (which he found to be “extremely sparse” (Tr. 15)), ALJ Parks

determined that E.G. was “markedly” impaired in the domain of acquiring and using

information, but was less than markedly impaired in any of the other relevant domains of

functioning (Tr. 16-17). ALJ Parks found that E.G. had no limitations in the domains of

moving about and manipulating objects and health and physical well-being, and that E.G.’s

limitations were “less than marked” in the domains of attending and completing tasks,

interacting and relating with others, and caring for himself (Tr. 17-18). Based on this



      3
          20 C.F.R. § 416.926a(e)(2)(i) provides:

      W e will find that you have a "m arked" lim itation in a dom ain when your im pairm ent(s)
      interferes seriously with your ability to independently initiate, sustain, or com plete
      activities. Your day-to-day functioning m ay be seriously lim ited when your im pairm ent(s)
      lim its only one activity or when the interactive and cum ulative effects of your
      im pairm ent(s) lim it several activities. "Marked" lim itation also m eans a lim itation that is
      "m ore than m oderate" but "less than extrem e." It is the equivalent of the functioning we
      would expect to find on standardized testing with scores that are at least two, but less
      than three, standard deviations below the m ean.

      4
          20 C.F.R. § 416.926a(e)(3)(i) provides:

      W e will find that you have an "extrem e" lim itation in a dom ain when your im pairm ent(s)
      interferes very seriously with your ability to independently initiate, sustain, or com plete
      activities. Your day-to-day functioning m ay be very seriously lim ited when your
      im pairm ent(s) lim its only one activity or when the interactive and cum ulative effects of
      your im pairm ent(s) lim it several activities. "Extrem e" lim itation also m eans a lim itation
      that is "m ore than m arked." "Extrem e" lim itation is the rating we give to the worst
      lim itations. However, "extrem e lim itation" does not necessarily m ean a total lack or loss
      of ability to function. It is the equivalent of the functioning we would expect to find on
      standardized testing with scores that are at least three standard deviations below the
      m ean.

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assessment of the record, the ALJ found that E.G.’s impairments did not functionally equal

any of the Listings.

       Plaintiff contends that the ALJ failed to properly consider the medical evidence,

school records, and hearing testimony which provide ample support for the conclusion that

E.G. suffers from a marked impairment not only in the domain of acquiring and using

information, but also in the domains of attending and completing tasks, and interacting and

relating to others. However, as the cases decided within the Second Circuit have made

clear, “[i]t is not the district court's ‘function to determine de novo whether [a claimant] is

disabled.’” Molina v. Barnhart, 2005 WL 2035959, at *5 (S.D.N.Y. August 17, 2005)

(quoting Schaal v. Apfel, 134 F.3d 496, 501 (2d Cir. 1998)). It is the function of “the

agency, and not [the district court], to weigh the conflicting evidence in the record.” Clark

v. Comm'r of Social Security, 143 F.3d 115, 118 (2d Cir. 1998). This court’s role “is not to

decide the facts anew, nor to reevaluate the facts, nor to substitute its judgment for that of

the ALJ, Appeals Council, or Commissioner. Rather, the decision of the Commissioner

must be affirmed if it is based upon substantial evidence, even if the evidence would also

support a decision for the claimant.” McKiver v. Barnhart, 2005 WL 2297383, at *10

(D.Conn. September 16, 2005) (citing Dobson v. Chater, 927 F. Supp. 1265, 1270 (D.Neb.

1996)).

       Accordingly, the question for the court in this case is whether the record as a whole

yields such evidence as would allow a reasonable mind to accept the ALJ’s conclusions

that E.G. had a less than marked limitation in either the domain of attending and

completing tasks or the domain of interacting and relating with others.



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        A.         Attending and Completing Tasks

        The domain of attending and completing tasks considers generally how well the

child is able to focus and maintain attention and begin, carry through, and finish activities,

including the pace at which the activities are performed and the ease with which the child

changes them. 20 C.F.R. § 416.926a(h).5 In this regard, ALJ Parks found that the record

revealed “some indication of hyperactivity contributing to poor attention and distractibility”

(Tr. 16). However, the ALJ noted that although medical treatment had been sought to

address E.G.’s various physical problems, no medical treatment had been sought to

address his hyperactivity or attention problems, and E.G. was not taking any medication

for this purpose.6 According to the ALJ, “[t]he lack of an aggressive treatment program to

        5
            The regulations provide the following relevant “age group descriptors” for this dom ain:

        (iii) Preschool children (age 3 to attainm ent of age 6). As a preschooler, you should be
        able to pay attention when you are spoken to directly, sustain attention to your play and
        learning activities, and concentrate on activities like putting puzzles together or com pleting
        art projects. You should also be able to focus long enough to do m any m ore things by
        yourself, such as getting your clothes together and dressing yourself, feeding yourself, or
        putting away your toys. You should usually be able to wait your turn and to change your
        activity when a caregiver or teacher says it is tim e to do som ething else.

        (iv) School-age children (age 6 to attainm ent of age 12). W hen you are of school age,
        you should be able to focus your attention in a variety of situations in order to follow
        directions, rem em ber and organize your school m aterials, and com plete classroom and
        hom ework assignm ents. You should be able to concentrate on details and not m ake
        careless m istakes in your work (beyond what would be expected in other children your
        age who do not have im pairm ents). You should be able to change your activities or
        routines without distracting yourself or others, and stay on task and in place when
        appropriate. You should be able to sustain your attention well enough to participate in
        group sports, read by yourself, and com plete fam ily chores. You should also be able to
        com plete a transition task (e.g., be ready for the school bus, change clothes after gym ,
        change classroom s) without extra rem inders and accom m odation.

20 C.F.R. § 416.926a(h)(2).

        6
          Additional evidence subm itted to the Appeals Council after the ALJ’s decision indicated that E.G.
began taking m edication for ADHD in 2004 (see Tr. 185, 198, 199, 238). However, the is no indication in
the record that E.G.’s condition required m edication on or before the ALJ issued his decision on August
26, 2003. See Perez v. Chater, 77 F.3d 41, 45 (2d Cir. 1996) (new evidence subm itted to Appeals Council
m ust relate to period on or before ALJ's decision).

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resolve this child’s alleged hyperactivity belies the assertions of a major behavioral barrier

to attention and task completion” (id.). The ALJ specifically concurred with the January 30,

2002 consultative report of Dr. Paulette Harar, a State agency review physician, who found

that E.G. had “less than marked” limitation in the domain of attending and completing tasks

(Tr. 174).

       This determination finds support in the evaluation of Dr. Michael P. Santa Maria, a

licensed clinical psychologist who examined E.G. on January 10, 2002. Dr. Santa Maria

found that plaintiff’s motor functioning, gait, and posture were within normal limits. His

speech was simple, but was fluent, clear and linear. There was no evidence of any

movement disorder, anxiety disorder, or psychosis. He did not show regular behavioral

problems or noteworthy attention problems. His mood appeared to be normal, and his

affect was generally positive. His appetite and energy level were good. His orientation

was somewhat below age expected levels. His new learning/recent memory functioning

was low average to slightly below average. His remote memory functioning was fair. His

insight and judgment were average to slightly below average for his age. Intelligence

testing revealed a verbal scale IQ of 65, a performance scale IQ of 77, and a full scale IQ

of 69 on the WISC-III (Tr. 166). Dr. Santa Maria’s diagnosis was borderline intellectual

functioning, with an optimistic prognosis for improvement in his overall intellectual abilities

(Tr. 167).

       Considering this evidence, the court cannot find that no reasonable mind could

accept the conclusions reached by the ALJ with respect to E.G.’s functioning in the domain

of attending and completing tasks.



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        B.         Interacting and Relating with Others

        Plaintiff also contends that the ALJ erred in finding that E.G. had less than marked

impairment in the domain of interacting and relating with others. The regulations define

this domain generally as the child's ability to “initiate and sustain emotional connections

with others, develop and use the language of your community, cooperate with others,

comply with rules, respond to criticisms, and respect and take care of the possessions of

others.” 20 C.F.R. § 416.926a(i).7

        In his hearing determination, ALJ Parks once again referred to the January 30, 2002

consultative report of Dr. Harar, which expressed the opinion that E.G. suffered a marked

impairment in his ability to interact and relate with others (see Tr. 174). However, the ALJ

disagreed with Dr. Harar’s assessment, finding instead that E.G. was less than markedly

impaired in this domain. As he did with respect to the domain of attending and completing




        7
            The regulations provide the following relevant “age group descriptors” for this dom ain:

        (iii) Preschool children (age 3 to attainm ent of age 6). At this age, you should be able to
        socialize with children as well as adults. You should begin to prefer playm ates your own
        age and start to develop friendships with children who are your age. You should be able
        to use words instead of actions to express yourself, and also be better able to share,
        show affection, and offer to help. You should be able to relate to caregivers with
        increasing independence, choose your own friends, and play cooperatively with other
        children, one-at-a-tim e or in a group, without continual adult supervision. You should be
        able to initiate and participate in conversations, using increasingly com plex vocabulary
        and gram m ar, and speaking clearly enough that both fam iliar and unfam iliar listeners can
        understand what you say m ost of the tim e.

        (iv) School-age children (age 6 to attainm ent of age 12). W hen you enter school, you
        should be able to develop m ore lasting friendships with children who are your age. You
        should begin to understand how to work in groups to create projects and solve problem s.
        You should have an increasing ability to understand another's point of view and to tolerate
        differences. You should be well able to talk to people of all ages, to share ideas, tell
        stories, and to speak in a m anner that both fam iliar and unfam iliar listeners readily
        understand.

20 C.F.R. § 416.926a(i)(2).

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tasks, ALJ Parks explained that this finding was based on the lack of a relevant diagnosis

or treatment for the behavioral problems alleged (Tr. 16).

       The ALJ provides no further explanation for his rejection of the consultative

examiner’s assessment, nor does he provide any explanation for his implicit rejection of

other substantial evidence supporting a finding that E.G.’s ability to interact and relate with

others was markedly impaired. For example, the record reflects that E.G. was referred by

the Buffalo Preschool Committee on Special Education for a psychological evaluation in

March 2001 due to behavioral concerns while attending the Holy Cross Head Start program

(see Tr. 102). School Psychologist Debra Sugg reported that E.G.'s behavior deteriorated

as the testing progressed. He would not stay seated, he attempted to leave the testing

area, he threatened Ms. Sugg with his fist, and “generally attempted to disrupt the

assessment” (Tr. 103). His responses were impulsive, and he “failed to take time to

process questions before responding. He required frequent re-direction and limit setting

to complete the evaluation” (id.).

       Teacher rating scale forms completed by E.G.'s classroom teacher at Holy Cross

Head Start revealed a high degree of general problematic behavior in preschool, as well

as significant elevations on subtests for oppositional behavior, hyperactivity,

inattentiveness, and impulsivity (Tr. 104). E.G. had a tendency to break school rules, was

more prone to emotional outbursts than other children, had difficulty sitting still, and was

easily distracted. Behavioral assessments revealed an overall elevated level of problem

behaviors. Clinically significant scores were noted on the hyperactivity, aggression, and

adaptability subscales. These results “”suggest that [E.G.] tends to act in a hostile manner

that is threatening to others, that he acts without thinking, and that he tends to be overly

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active and rushes through activities. [He] also lacks the ability to readily adapt to changes

in the environment” (Tr. 104).

         Ms. Sugg also observed that in a classroom setting E.G. “attempted but was unable

to successfully initiate activities with other students. When rejected, he pouted and

whined. [He] required verbal and physical prompts to follow directions. He did not

demonstrate the ability to engage in tasks independently” (Tr. 105). E.G.’s teachers

reported that:

         [He] is constantly moving and appears unable to keep his hands to himself.
         They indicated that he requires extra reminders to follow directions and that
         he doesn’t demonstrate knowledge of boundaries/limits. [He] pushes to get
         to the front of the line, inappropriately attempts to take charge of activities,
         and acts without considering the consequences of his actions. [He] also
         demonstrates verbal aggression and threatens physical violence (raising his
         fist at classmates). His teachers noted that he is very self-directed and that
         he doesn’t respond appropriately when he is reprimanded (walks away,
         continues with inappropriate behavior, yells).

(Id.).

         Based on her evaluation, Ms. Sugg concluded that E.G.’s poor social and coping

skills resulted in escalating behavior problems which interfered with his ability to learn,

requiring a structured academic setting and adult supervision to meet his social and

emotional needs (id.). She further noted that:

         [E.G.] displays inappropriate behaviors on a daily basis despite participating
         in a semi-structured preschool program for two years. Severe impairments
         are noted in his ability to interact appropriately with adults and peers. [He]
         demonstrates maladaptive coping skills that seriously interfere in his ability
         to establish appropriate relationships and interfere with the learning process
         for himself and others. These behaviors reflect a disruptive pattern that
         appears to be motivated by a combination of escape to avoid undesired
         tasks, underdeveloped coping skills, and an effort to gain the attention of or
         interaction with peers.



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        Based on significant deficits in the area of social-emotional development and
        behavior, [E.G.] appears to meet eligibility criteria as a preschool student with
        a disability. These behaviors interfere with his daily functioning and are
        unlikely to improve without professional intervention. . . .

(Tr. 106).

        Ms. Sugg evaluated E.G. again in July 2001 as he was about to enter kindergarten

(see Tr. 162-64). She reported that E.G. continued to exhibit oppositional behavior at

school despite placement in a 12:1:1 setting. He continued to demonstrate restlessness,

impulsiveness, difficulty sitting still, and a tendency to break rules. Testing results were

clinically significant for aggression, adaptability, and social skills, showing a tendency to

act in a hostile and threatening manner along with difficulty adapting to changes in his

environment and failure to develop necessary skills for successful social interaction (Tr.

163).

        E.G.’s Individualized Educational Program for kindergarten in school year 2001-

2002 indicated a disability classification of “Emotionally Disturbed” (Tr. 125). In the area

of social development, he was reported to have difficulties interacting appropriately with

peers and adults, following rules, and sitting still. He demonstrated aggressive tendencies,

he was defiant, and was easily distracted (Tr. 126). His behavior “seriously interferes with

instruction and requires additional adult support” (id.), including curb to curb transportation,

15:1 special education classroom, verbal and physical cues, preface class change with 5

minute warning, timer, structured environment, consistent routine, clear expectations,

positive reinforcement, and preferential seating (Tr. 125-28).

        In addition, following the hearing, ALJ Parks referred E.G. for a further consultative

“Intellectual Evaluation,” which was performed by Thomas Dickinson, Ph.D., on June 12,


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2003 (Tr. 181A-F). Dr. Dickinson reported that E.G. had some friends in school, but had

been suspended three times in the past month for various infractions including throwing

chairs, throwing papers, and arguing with teachers (Tr. 181A). Plaintiff related that E.G.

had attended school counseling for behavioral problems, but this stopped because he

would not communicate with the counselor. Plaintiff reported that the school had referred

E.G. to Child and Adolescent Treatment Services for further counseling (id.). Plaintiff also

reported numerous problems with E.G.’s behavior such as frustration, moodiness, temper

troubles like throwing and breaking things, impulsivity, losing friends, poor concentration

and memory, poor organization, learning troubles, short attention span, hyperactivity,

destruction of peer's property, and being “mean with other children” (Tr. 181B).

       Dr. Dickinson observed mixed cooperation and uncooperativeness, restless motor

behavior, easy distraction, self-directed behavior, poor attention and concentration, poor

recent and remote memory, poor insight and judgment, and many refusals to comply with

testing instructions (Tr. 181C).     Based on his observations and testing results, Dr.

Dickinson found that E.G. did not have age-appropriate abilities to attend and follow

directions, to complete tasks, or to interact with peers and adults. Social behavior and

learning skills were also below age-appropriate level (Tr. 181E). Dr. Dickinson’s diagnosis

was adjustment disorder with mixed disturbance of emotions and conduct, impulse control

disorder, learning disorder, reading disorder, possible ADHD, and disruptive behavior

disorder (id.). He found E.G. to be functioning at “[d]ull normal intellectual level” (id.). He

recommended medical follow-up with supportive counseling and psychiatric evaluation,

continued special school services, and periodic testing to chart intellectual and educational

functioning (Tr. 181F).    Prognosis was rated as “fair,” with medical and psychiatric

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supervision, continued counseling, and special school services. Dr. Dickinson remarked

that his evaluation results were consistent with available records and with the mother's

complaints (Tr. 181F).

       While an ALJ is not required to “reconcile every conflicting shred” of medical

evidence or testimony, Miles v. Harris, 645 F.2d 122, 124 (2d Cir. 1981), quoted in Falcon

v. Apfel, 88 F. Supp. 2d 87, 90 (W.D.N.Y. 2000), “the ALJ must acknowledge relevant

evidence or explain his implicit rejection of it . . . ,” Castillo v. Apfel, 1999 WL 147748, at

*8 (S.D.N.Y. March 18, 1999), and also “must adequately explain his analysis and

reasoning in making the findings on which his ultimate decision rests and must address all

pertinent evidence.” Lugo v. Barnhart, 2008 WL 515927, at *17 (S.D.N.Y. February 8,

2008) (citing cases). Here, ALJ Parks acknowledged the substance of Ms. Sugg’s and Dr.

Dickinson’s reports (see Tr. 15-16), as well as the consultative physician’s findings, but he

did not explain why he rejected this significant evidence in favor of a determination which

was based entirely on the absence of any showing that E.G. had received medical

attention to address his condition. This resulted in an improper evaluation of pertinent

school and medical records which, in the court’s view, provide further evidentiary support

for Dr. Harar’s finding that E.G. suffered a marked impairment in his ability to interact and

relate with others.

       Based on this analysis of the record as a whole, the court cannot find that it yields

such evidence as would allow a reasonable mind to accept the ALJ’s conclusion that E.G.

had a less than marked limitation in the domain of interacting and relating with others.

Accordingly, the ALJ’s determination is not supported by substantial evidence, and must

be reversed.

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       Plaintiff seeks reversal and remand solely for the calculation of benefits, given the

persuasive proof of E.G.’s marked impairment in at least two domains of functioning, as

well as the length of time the application has been pending (over six years). Under the

Second Circuit’s rulings, a remand solely for calculation of benefits may be appropriate

when the court finds that there is “no apparent basis to conclude that a more complete

record might support the Commissioner’s decision . . . .” Butts v. Barnhart, 388 F.3d 377,

385-86 (2d Cir. 2004) (quoting Rosa v. Callahan, 168 F.3d 72, 83 (2d Cir. 1999)); see also

Johnson v. Bowen, 817 F.2d 983, 986 (2d Cir. 1987) (remand for calculation of benefits

appropriate where record “compel[s] but one conclusion under the . . . substantial evidence

standard.”); Parker v. Harris, 626 F.2d 225, 235 (2d Cir. 1980) (remand solely for

calculation of benefits appropriate where “the record provides persuasive proof of disability

and a remand for further evidentiary proceedings would serve no purpose”).

       As the discussion above amply demonstrates, the evidence contained in E.G.’s

school records and the reports of examining and reviewing medical consultants provides

persuasive proof of his marked limitation of functioning in the domain of interacting and

relating with others. When considered in conjunction with the ALJ’s finding with respect

to the domain of acquiring and using information, this evidence compels but one

conclusion–that E.G. meets the criteria for functional equivalence under 20 C.F.R.

§ 416.926a, and is therefore disabled within the meaning of the Social Security Act.

Additionally, the court is reluctant to contribute any further to the delay of the determination

of plaintiff’s application by remanding for further administrative proceedings. As the courts

have noted, delay “is harmful for any litigant, but particularly in connection with benefits for

children which are not to replace lost income, but to enable low-income families to afford

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special education, medical treatment, physical rehabilitation, early intervention services,

and personal needs assistance for the child.” Nieves ex rel. Nieves v. Barnhart, 2004 WL

2569488, at *10 (S.D.N.Y. November 12, 2004) (citing Maldonado v. Apfel, 55 F. Supp. 2d

296, 297-98 (S.D.N.Y. 1999)). Indeed, “[t]he purpose of providing SSI benefits to children

is to assist them while they are children.” Molina v. Barnhart, 2002 WL 377529, at *10

(S.D.N.Y. March 11, 2002). E.G. was five years old at the time the application for SSI

benefits was filed on his behalf, and he is now twelve.

        For these reasons, the court finds that remand to the Commissioner for further

proceedings would serve no useful purpose. Accordingly, remand is ordered solely for the

calculation of benefits.

                                       CONCLUSION

        Based on the foregoing, plaintiff’s motion for judgment on the pleadings (Item 10)

is granted, the Commissioner’s motion for judgment on the pleadings (Item 11) is denied.

The Commissioner’s denial of plaintiff’s application for SSI benefits on behalf of her minor

child, E.G., is reversed, and the case is remanded to the Commissioner solely for the

calculation of benefits.

        The Clerk of the Court is directed to enter judgment in favor of the plaintiff.

        So ordered.
                                                              \s\ John T. Curtin
                                                                 JOHN T. CURTIN
                                                             United States District Judge

Dated: March 21               , 2008
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